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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

UNITED STATES OF AMERICA,                        )
               Plaintiff,                        )
                                                 )
v.                                               )     CRIMINAL NO.: 1:21-MJ-827
                                                 )
RYAN TAYLOR FAIRCLOTH,                           )
BOOKING # 2117173,                               )
                Defendant.                       )

                          APPLICATION FOR WRIT OF HABEAS
                             CORPUS AD PROSEQUENDUM

       Comes now the United States of America and respectfully represents that the above case

is set for court proceedings on the                  day of                        , 2021; that the

Defendant is incarcerated and is now in the custody of the Travis County Jail, 500 W 10th St

Austin, TX 78701.

       WHEREFORE, the government prays that this Court issue an order directing the Clerk of

the Court to issue a Writ of Habeas Corpus Ad Prosequendum addressed to the Travis County Jail,

commanding it to surrender the said Defendant into the custody of the United States Marshal for

the Western District of Texas, or his duly authorized representative, and directing said Marshal to

bring said Defendant to Austin, Texas, on                        , 2021, at                  A.M.

for the purpose of said proceedings, and any further proceedings to be had in this cause.

                                                       Respectfully submitted,

                                                       ASHLEY C. HOFF
                                                       UNITED STATES ATTORNEY

                                             By:       /s/G. Karthik Srinivasan
                                                       G. Karthik Srinivasan
                                                       ASSISTANT U.S. ATTORNEY
                                                       903 San Jacinto Blvd, Suite 334
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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES OF AMERICA,                       )
               Plaintiff,                       )
                                                )
v.                                              )    CRIMINAL NO.: 1:21-MJ-827
                                                )
RYAN TAYLOR FAIRCLOTH,                          )
BOOKING # 2117173,                              )
                Defendant.                      )

                          ORDER FOR ISSUANCE OF WRIT OF
                         HABEAS CORPUS AD PROSEQUENDUM

       Came on the application of the United States of America, representing that this cause is set

for hearing in Austin, Texas, on                                , 2021; that the Defendant is now

incarcerated, and in the custody of the Travis County Jail, 500 W 10th St Austin, TX 78701, that

justice demands the Defendant's presence at such proceedings; and the Government prays the

Court to direct the issuance of a Writ of Habeas Corpus Ad Prosequendum for the attendance of

said Defendant; and the Court, being of the opinion that said application should be granted; it is

therefore,

       ORDERED that the Clerk issue a Writ of Habeas Corpus Ad Prosequendum, addressed to

the Travis County Jail, directing that said Defendant be delivered into the custody of the United

States Marshal, and directing said Marshal to bring the Defendant before this Court in Austin,

Texas, at                   A.M., on                               , 2021, for the purpose of said

hearing, and any further proceedings to be had in this cause, and at the conclusion of said

proceedings to return said Defendant to the custody of the United States Marshal's Service.

       SIGNED and ENTERED at Austin, Texas, this ____ day of ______________, 2021.




                                                     UNITED STATES DISTRICT JUDGE
